                                                                                                                     SAVE AS
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                               UNITED STATES BANKRUPTCY COURT                                                             PRINT
                                            Southern District of Georgia
                                                                                                                   RESET FORM
In the matter of:                                                        )
 Persoff Valdimar Bonner                                                 )        Chapter:      13
                                                                         )
                                                                         )        Case No.: 21-10540
                                            Debtor(s)                    )
Disney Vacation Development, Inc.                                        )
                                                                         )
                                                                         )
                                                                         )
                                            Movant                       )
                                                                         )
Michael Cobb, Jr.
                                                                         )
                                                                         )
                                                                         )
                                            CoDebtor                     )
                                                                         )


                     NOTICE OF MOTION FOR RELIEF FROM CODEBTOR STAY

Movant has filed a Motion with the court seeking permission to proceed against the above-listed CoDebtor to collect
the debt owed movant.

Your rights may be affected. You should read these papers carefully and discuss them with your attorney. If you
do not have an attorney, you may wish to consult one.

If you have legal grounds to oppose the motion, or if you wish the Court to consider your views on the motion, you
must file a written request for a hearing with the Clerk of the Bankruptcy Court before the expiration of twenty (20)
days from the filing of the motion.

If you mail your request for hearing to the Court, you must mail it early enough so that it will be received before the
time referenced above.

Any request for a hearing must also be mailed to the moving party and all other persons indicated in the certificate of
service attached to these pleadings.

If a timely request is filed, you will receive notice of the date, time and place of hearing.

If you or your attorney do not take these steps, the Court will decide that you do not oppose the relief sought in the
motion and will enter an order granting it.



         7/28/2022
Date                                                                /s/ Amy E. Gardner
                                                                                    Attorney for Movant




Lucinda Rauback, Clerk
United States Bankruptcy Court
Southern District of Georgia

[Rev. 12/2012]
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                            UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF GEORGIA

  In re:                                          :
                                                  :
       Persoff Valdimar Bonner                    :    Case No.: 21-10540
                                                  :    Chapter 13
            Debtor.                               :    Judge Susan Barrett
                                                  :

        MOTION FOR RELIEF FROM CODEBTOR STAY AS TO REAL PROPERTY
      LOCATED AT UNIT 64, DISNEY’S BEACH CLUB VILLAS, ORLANDO, FLORIDA


           Disney Vacation Development, Inc. ("Movant"), hereby moves the Court, pursuant to 11

 U.S.C. § 1301 to lift the co-debtor stay as to real property commonly referred to as Unit 64,

 Disney's Beach Club Villas, Orlando, Florida ("Property"). In support of the Motion, the Movant

 states the following:

 1.        Persoff Valdimar Bonner (''Debtor'') filed a Chapter 13 case on August 31, 2021

           ("Petition Date").

 2.        The Chapter 13 Plan was confirmed on January 26, 2022.

 3.        Michael Cobb, Jr. (“Codebtor”) is a codebtor on the debt in question but is not a party to

           this bankruptcy proceeding. As such, the co-debtor stay of 11. U.S.C. §1301 is in place

           and needs to be lifted before Creditor may proceed in state court.

 4.        On June 10, 2003 Debtor and Codebtor entered into a contract with Movant for the

           purchase of a timeshare interest in Disney’s Beach Club Villas. A copy of the Deed

           evidencing the Property interest at issue is attached as Exhibit A.

 5.        The Debtor's Plan does not provide for the Property.

 6.        Pursuant to the terms of the Declaration of Condominium, Movant exercised its rights

           and, on October 14, 2021 recorded a Claim of Lien for Unpaid Assessments (“Lien”) in

           the amount of $1,855.98 against the Debtor’s interest in the Property. Movant’s lien
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        includes a right to add future defaults, assessments and attorney fees to the total lien

        amount as they come due. A copy of the Lien is attached as Exhibit B. A copy of the

        applicable pages of the Declaration of Condominium is attached as Exhibit C.

 7.     Debtor and Codebtor has failed to pay the dues and assessments due to Movant under the

        terms of the Lien and Declaration of Condominium. As of June 24, 2022, Debtor owes

        Movant $3,782.19 in outstanding dues and assessments. Movant seeks to exercise its

        rights under applicable state law as permitted by the Lien, including but not limited to

        initiating foreclosure proceedings and proceeding as otherwise permitted. Thus, Movant

        needs relief from stay. Attached as Exhibit D is proof of the outstanding dues and

        assessments owed.

 8.     Movant has attempted to contact Debtor’s attorney about intent of the lien and possibility

        of a Consent Order. Attempts went unanswered.

 9.     The Property is of inconsequential value and benefit to the estate. Cause exists to lift the

        automatic stay under 11 U.S.C. § 362(d)(1) and/or 362(d)(2) for these reasons:

        a.     The Movant is not being adequately protected as Debtor has failed to maintain

               their obligations to Movant under the terms of the Lien by failing to maintain their

               dues and assessments since the filing of this case. Relief from stay is necessary

               such that the Movant may foreclose on the Property, as permitted by the Lien.

        b.     The Property is a timeshare and, therefore, is not necessary to Debtor’s successful

               reorganization.

 10.    Movant requests that the Court order that Rule 4001(a)(3) is not applicable.

        WHEREFORE, the Movant prays for the entry of the attached Order Granting Relief

 from the Automatic Stay grant the following:
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           1. Relief from the stay allowing Movant (and any successors or assigns) to

              proceed under applicable non-bankruptcy law to enforce its remedies to

              foreclose upon and obtain possession of the Property.

           2. That the 14-day stay described by Bankruptcy Rule 4001(a)(3) be waived.

           3. For such other relief as the Court deems proper.


                                                  Respectfully submitted,
                                                    /s/ Amy E. Gardner
                                                  Amy E. Gardner, Pro Hac Vice
                                                  Manley Deas Kochalski LLC
                                                  P.O. Box 165028
                                                  Columbus OH 43216-5028
                                                  614-220-5611; Fax: 614-627-8181
                                                  Attorneys for Movant
                                                  The case attorney for this file is Amy E.
                                                  Gardner
                                                  Contact email is
                                                  aegardner@manleydeas.com
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                                  CERTIFICATE OF SERVICE

        I hereby certify that a copy of the foregoing Motion for Relief from Codebtor Stay as to

 Real Property Located at Unit 64, Disney’s Beach Club Villas, Orlando, Florida was served

 electronically on the date of filing through the court's ECF System on all ECF participants

 registered in this case at the email address registered with the court:

    Office of U.S. Trustee, Party of Interest, (Registered address)@usdoj.gov

    Huon Le, P.O. Box 2127, Augusta, GA 30903, notices@chp13aug.org

    Matthew James Duncan, Attorney for Persoff Valdimar Bonner, office@duncanbrow.com
                                    28 2020 addressed to:
 and by ordinary U.S. mail on July ___,

    Persoff Valdimar Bonner, 1223 Stone Meadows Court, Grovetown, GA 30813

    Michael Cobb, Jr., 1304 Hawksoor Way, Grovetown, GA 30813




                                                            /s/ Amy E. Gardner
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                               Exhibit
                                 A
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Exhibit
  B
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  Exhibit
    C
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Exhibit
  D
    Member MICHAEL COBB
      Redacted
     Transaction Date     Type    Sub Type Amount Current Balance
     12/15/2019       E.D.D.      NA      $83.81    $0.00
     12/16/2019       Bil Adj Db NA       $12.02    -$12.02
     12/16/2019       Dues Bill   NA      $1,670.50 $1,658.48
     12/16/2019       Esc Adj Db NA       $835.25 $823.23
     12/16/2019       Est Taxes   NA      $436.52 $1,259.75
     12/16/2019       Credit Memo NA      $12.02    $1,271.77
     12/16/2019       OverPay Cr NA       $12.02    $1,259.75
     12/16/2019       Tax Adj Db NA       $212.25 $1,047.50
     01/16/2020       E.D.D.      NA      $87.30    $960.20
     02/15/2020       E.D.D.      NA      $87.30    $872.90
     03/17/2020       Int Chg     NA      $26.68    $899.58
     03/17/2020       Late Chg    NA      $25.00    $924.58
     05/29/2020       Int Chg     NA      $31.42    $956.00
     06/29/2020       Int Chg     NA      $13.34    $969.34
     07/30/2020       Int Chg     NA      $13.34    $982.68
     09/01/2020       Int Chg     NA      $14.20    $996.88
     10/02/2020       Int Chg     NA      $13.34    $1,010.22
     11/02/2020       Int Chg     NA      $13.34    $1,023.56
     12/03/2020       Int Chg     NA      $13.34    $1,036.90
     12/16/2020       Bil Adj Db NA       $132.52 $904.38
     12/16/2020       Dues Bill   NA      $887.34 $1,791.72
     12/16/2020       Est Taxes   NA      $228.26 $2,019.98
     12/16/2020       Credit Memo NA      $132.52 $2,152.50
     12/16/2020       OverPay Cr NA       $132.52 $2,019.98
     02/15/2021       Int Chg     NA      $46.87    $2,066.85
     02/15/2021       Late Chg    NA      $25.00    $2,091.85
     03/18/2021       Int Chg     NA      $28.36    $2,120.21
     04/19/2021       Int Chg     NA      $29.26    $2,149.47
     05/20/2021       Int Chg     NA      $28.36    $2,177.83
     06/21/2021       Int Chg     NA      $29.26    $2,207.09
     07/23/2021       Int Chg     NA      $29.26    $2,236.35
     08/24/2021       Int Chg     NA      $29.26    $2,265.61
     09/27/2021       Int Chg     NA      $31.10    $2,296.71
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  Transaction Date     Type    Sub Type Amount   Current Balance
  10/08/2021       Lien chg    NA      $29.00    $2,325.71
  10/28/2021       Int Chg     NA      $28.36    $2,354.07
  11/29/2021       Int Chg     NA      $29.26    $2,383.33
  12/16/2021       Bil Adj Db NA       $27.12    $2,356.21
  12/16/2021       Dues Bill   NA      $902.69   $3,258.90
  12/16/2021       Est Taxes   NA      $227.75   $3,486.65
  12/16/2021       Credit Memo NA      $27.12    $3,513.77
  12/16/2021       OverPay Cr NA       $27.12    $3,486.65
  02/15/2022       Int Chg     NA      $88.22    $3,574.87
  02/15/2022       Late Chg    NA      $25.00    $3,599.87
  03/18/2022       Int Chg     NA      $45.22    $3,645.09
  04/18/2022       Int Chg     NA      $45.22    $3,690.31
  05/19/2022       Int Chg     NA      $45.22    $3,735.53
  06/20/2022       Int Chg     NA      $46.66    $3,782.19
